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00564-59415(ROB) 05J(//,! h ""~ .`.\ 0/1
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IN THE UNITED STATES DlSTRlCT COURT 7
FOR THE WESTERN DlSTRlCT OF TENNESSEE
EASTERN DlVlSION

 

JOHN LAWRENCE,
Plaintiff,
vs. Civi| Action No. 1 -05-1011-TIAN

BENTON COUNTY, TENNESSEE
and BANK OF CAMDEN,

Defendants.

 

RULE 16(b) SCHEDUL|NG ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates are
established as the final dates for :

lNITlAL DlSCLOSURES (RULE 26(3)(1)): June 21, 2005
JOlNlNG PART|ES:

for Plaintiff: August 7, 2005
for Defendant: September 7, 2005

AMEND|NG PLEAD|NGS:

for Plaintiff: August 7, 2005
for Defendant: September 7, 2005
COMPLET!NG ALL DlSCOVER‘(: February 7, 2006
(A) REQUESTS FOR PRODUCT|ON,
lNTERROGATOR|ES and
REQUESTS FOR ADM|SS|ONS: February 71 2006
(B) EXPERT DlSCLOSURE (Ru|e 26(a)(2)):
(i) P|aintiff`s Experts: December 7, 2005
(ii) Defendant’s Experts: January 7, 2006
(iii) Supp|ementation under Ru|e 26(e): January 17, 2006

Thls document entered on the docket sheet n compliance
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(C) DEPOS|T|ONS OF EXPERTS: February 7, 2006
FlL¥NG DlSPOS|T|VE MOT|ONS: January 24, 2006
FINAL LlSTS OF WlTNESSES AND EXH|B|TS (Rule 26(a)(3)):

(A) for Plaintiff: March 10, 2006
(B) for Defendant: March 24, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to
file objections under Rule 26(a)(3).

The trial of this matter is expected to last 2 Days and is set for JURY TR|AL on
MONDAY, APR|L 24, 2006, at 9:30 A.M. Ajoint pretrial order is due on FRlDAY, APR|L
14, 2006. in the event the parties are unable to agree on a joint pretrial orderl the parties

must notify the court at least ten (10) days before trial.
OTHER RELEVANT MATTERS:

interrogatories Requests for Production and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by the
deadline for completion of discovery. For example, if the FRCP allow 30 days for a party
to respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or service of the response, answer, or objection which is the
subject of the motion if the default occurs within 30 days of the discovery deadline, unless
the time for filing of such motion is extended for good cause shown, or any objection to the
default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(1)(B), ali
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by
a proposed Order and a Certif”lcate of Consu|tation.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. if a party believes
that a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The lVlagistrate Judge
can normally provide the parties with a definite trial date that wi|i not be continued unless
a continuance is agreed to by ali parties, or an emergency arises which precludes the
matter from proceeding to trial.

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The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

lT lS SO ORDERED.

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S. THO|VIAS ANDERSON
UN|TED STATES MAG|STRATE JUDGE

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APPROVED:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CV-01011 Was distributed by faX, mail, or direct printing on

June 8, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

